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5
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     URIEL OCHOA-ESPINDOLA, T/N URIEL ESPINDOLA-OCHOA
7
8                                            UNITED STATES DISTRICT COURT
9                                           EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           Case No. 2:09-cr-380 WBS
12                             Plaintiff,                STIPULATED MOTION AND [lodged] ORDER
13                                                       TO REDUCE SENTENCE PURSUANT TO 18
               v.                                        U.S.C. § 3582(c)(2)
14   URIEL OCHOA-ESPINDOLA,                              RETROACTIVE DRUGS-MINUS-TWO
     T/N URIEL ESPINDOLA-OCHOA,                          REDUCTION CASE
15
                               Defendant.                Judge: Honorable WILLIAM B. SHUBB
16
17
               Defendant, URIEL OCHOA-ESPINDOLA, by and through his attorney, Assistant
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     Federal Defender Hannah R. Labaree, and plaintiff, UNITED STATES OF AMERICA, by and
19
     through its counsel, Assistant U.S. Attorney Jason Hitt, hereby stipulate as follows:
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               1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of
21
     imprisonment in the case of a defendant who has been sentenced to a term of imprisonment
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     based on a sentencing range that has subsequently been lowered by the Sentencing Commission
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     pursuant to 28 U.S.C. § 994(o);
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               2.         On April 15, 2013, this Court sentenced Mr. Ochoa-Espindola to a term of 210
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     months imprisonment;
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               3.         His total offense level was 37, his criminal history category was I, and the
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     resulting guideline range was 210 to 262 months;
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     Stipulation and Order Re: Sentence Reduction           1
      Case 2:09-cr-00380-WBS Document 320 Filed 10/14/16 Page 2 of 3


1              4.         The sentencing range applicable to Mr. Ochoa-Espindola was subsequently
2    lowered by the United States Sentencing Commission in Amendment 782, made retroactive on
3    July 18, 2014, see 79 Fed. Reg. 44,973;
4              5.         Mr. Ochoa-Espindola’s total offense level has been reduced from 37 to 35, and
5    his amended guideline range is 168 to 210 months;
6              6.         Accordingly, the parties request the Court enter the order lodged herewith
7    reducing Mr. Ochoa-Espindola’s term of imprisonment to a term of 168 months.
8    Respectfully submitted,
9    Dated: August 31, 2016                             Dated: August 31, 2016
10   PHILLIP A. TALBERT                                 HEATHER E. WILLIAMS
     Acting United States Attorney                      Federal Defender
11
12    /s/ Jason Hitt                                    /s/ Hannah R. Labaree
     JASON HITT                                         HANNAH R. LABAREE
13   Assistant U.S. Attorney                            Assistant Federal Defender
14   Attorney for Plaintiff                             Attorney for Defendant
     UNITED STATES OF AMERICA                           URIEL OCHOA-ESPINDOLA,
15                                                      T/N URIEL ESPINDOLA-OCHOA
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     Stipulation and Order Re: Sentence Reduction          2
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1                                                   ORDER
2              This matter came before the Court on the stipulated motion of the defendant for reduction
3    of sentence pursuant to 18 U.S.C. § 3582(c)(2).
4              The parties agree, and the Court finds, that Mr. Ochoa-Espindola is entitled to the benefit
5    Amendment 782, which reduces the total offense level from 37 to 35, resulting in an amended
6    guideline range of 168 to 210 months.
7              IT IS HEREBY ORDERED that the term of imprisonment imposed in April 2013 be
8    reduced to a term of 168 months.
9              IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
10   remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above
11   reduction in sentence, and shall serve certified copies of the amended judgment on the United
12   States Bureau of Prisons and the United States Probation Office.
13             Unless otherwise ordered, Mr. Ochoa-Espindola shall report to the United States
14   Probation Office within seventy-two hours after his release.
15   Dated: October 14, 2016
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     Stipulation and Order Re: Sentence Reduction       3
